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                  UNITED STATES DISTRICT COURT

               SOUTHERN DISTRICT OF GEORGIA

                        SAVANNAH DIVISION




UNITED STATES OF AMERICA,          )
                                   )
v.                                 )           Case No. CR408-315
                                   )
ANTONIO DAWON WOODLEY,             )
                                   )
     Defendant.                    )


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     Defendant Antonio Woodley's appointed attorney, Eugene Brooks,

has filed his second motion to withdraw as defense counsel in this

criminal case. (Doc. 704.) Woodley is clearly a difficult client. He has on

several occasions refused to cooperate with Brooks or accept his legal

advice, and he refused even to meet with Brooks on one occasion when

counsel drove for over an hour to visit Woodley at the Emanuel County

Jail. In addition, Woodley believes that he has the right to demand that

Brooks file motions that Brooks has independently determined to be

meritless, and he generally mistrusts Brooks. He blames Brooks for the
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trial delays associated with the mental competency evaluation that this

Court ordered. Nevertheless, Woodley has neither requested

replacement counsel nor moved to proceed pro se.'

       The Court conducted an inquiry on the matter on September 29,

2009. 2 After listening to his grievances, it explained to Woodley that

Brooks is an experienced trial attorney who has represented a number of

indigent defendants charged with federal crimes on appointment by this

Court. One of those cases was tried before a jury. While Brooks

primarily practices civil law, he is regularly in court and has tried some

30 to 50 jury trials. He has been a diligent and zealous advocate for his

clients in this Court. The Court further explained to Woodley that while

he is the final decisionmaker as to the most important aspects of his

defense (such as whether to accept a government plea offer or whether to

testify on his own behalf), he has no right to control every aspect of his

attorney's performance. Particularly, Woodley has no right to force


      1
         Woodley has submitted several letters to the Court asking it to order Brooks
to file certain motions on his behalf. (Docs. 688, 706, & 717.)
      2
        Prior to excusing government counsel from the proceeding, the Court asked
about his impression of Brooks's performance. AUSA Knoche stated that he had had
a number of conversations with Brooks and that Brooks had proven to be an effective
advocate for his client, having negotiated (from the prosecutor's perspective) a very
favorable plea offer from the government.

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Brooks to file motions that counsel believes to be meritless. An attorney

is not a mere rubber stamp or mouthpiece for his client, obligated to urge

any motion or argument his client wishes him to file. Thomas v. Tenneco

Packaging Co., 293 F.3d 1306, 1337 (11th Cir. 2002). If a client insists

that an attorney file a motion or take a position that the attorney does

not personally believe to have any factual or legal merit, "the attorney

must stand his.. . ground and refuse to act in a manner that flies in the

face of the relevant ethics rules." Id. at 1327-28. Indeed, sanctions may

be imposed upon an attorney who forgets his proper role as an officer of

the court. See United States v. Scott, No. CR405-331, doc. 214 (adopted

by doc. 238).

      Finally, the Court explained that Brooks has a duty to be honest

and forthright with his client about the strengths and weaknesses of his

case. The attorney must deal with the facts and evidence as he finds

them. Sometimes the client is not happy with what the attorney has to

say, but that should not give him reason to believe that his attorney is

actively working against him. An attorney does not have to believe in his

client's innocence in order to serve as an effective advocate. United

States v. Laetividal-Gonzalez, 939 F.2d 1455 1 1466 (llth Cir. 1991).


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      Woodley is advised that the Court will not permit him to obtain a

new attorney simply by the expedient of refusing to cooperate with

counsel chosen by the Court. "Although an indigent criminal defendant

has a right to be represented by counsel, he does not have a right ... to

demand a different appointed lawyer except for good cause," and a court

will not find "good cause" absent a showing that defendant's appointed

counsel cannot provide adequate assistance. Thomas v. Wainwright, 767

F.2d 732, 742 (11th Cir. 1985); United States v. Young, 482 F.2d 993, 995

(5th Cir. 1973); see Morris v. Slappy, 461 U.S. 1, 11-15 (1983) (declining

to create a Sixth Amendment right to a "meaningful attorney-client

relationship") .

      As the Court explained in its prior order denying withdrawal (doc.

551), granting Brooks's motion to withdraw would simply saddle a new

attorney with the same difficulties that Mr. Brooks has been

experiencing. Thus excusing Brooks and substituting new counsel would

accomplish nothing and, in fact, would be counterproductive this late in

the proceedings. Consequently, counsel's second motion to withdraw is

DENIED.

      SO ORDERED this 1st day of October, 2009.


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                                   UNITEDiiATEJEDGE
                                          TATES
                                   SOUTHERN DISTRICT OF GEORGIA




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